           Case 2:07-cv-01099-GEB-CMK Document 68 Filed 03/21/11 Page 1 of 2


 1
 2
 3
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     DAVID FABBRINI,                            )
 8                                              )   2:07-cv-01099-GEB-CMK
                       Plaintiff,               )
 9                                              )
                 v.                             )   ORDER
10                                              )
     CITY OF DUNSMUIR, JOHN FISHER,             )
11   BILL SANFORD, and KEITH                    )
     ANDERSON,                                  )
12                                              )
                   Defendants.                  )
13   ________________________________           )
14
15               Pursuant to the parties’ request in the stipulation filed on

16   March 18, 2011 (“Stipulation”), further briefing concerning compliance

17   with the Ninth Circuit’s February 11, 2011 decision is unnecessary if

18   the   parties    have   reached   a    settlement   as   they   indicate   in   the

19   Stipulation. Therefore, as the parties request in the Stipulation, they

20   shall either submit further briefing as referenced in the Order filed

21   March 9, 2011 (ECF No. 66), on or before July 18, 2011; or file a

22   document on or before July 18, 2011 that is sufficient for this action

23   to be closed.

24   Dated:    March 18, 2011
25
26                                         GARLAND E. BURRELL, JR.
                                           United States District Judge
27
28


                                               1
     Case 2:07-cv-01099-GEB-CMK Document 68 Filed 03/21/11 Page 2 of 2


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                       2
